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The following constitutes the ruling of the court and has the force and effect therein described.




Signed August 23, 2021
______________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

      In re                                           §
                                                      §
                                                                         Chapter 11
      HIGHLAND CAPITAL MANAGEMENT,                    §
      L.P.,                                           §
                                                                 Case No. 19-34054-sgj11
                                                      §
              Debtor.                                 §
                                                      §
      HIGHLAND CAPITAL MANAGEMENT,                    §
      L.P.,                                           §
                                                      §
              Plaintiff,                              §
                                                      §
                                                                    Adv. No. 21-03004
      v.                                              §
                                                      §
      HIGHLAND CAPITAL MANAGEMENT                     §
      FUND ADVISORS, L.P.                             §
                                                      §
              Defendant.

                                  AGREED PROTECTIVE ORDER

              CAME ON FOR CONSIDERATION the Motion for Entry of Protective Order [Docket

     No. 37] (the “Motion”), filed by Highland Capital Management Fund Advisors, L.P. (“HCMFA”),

     the defendant in the above-referenced adversary proceeding (the “Adversary Proceeding”) filed

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  by Highland Capital Management, L.P. (“Highland” and together with HCMFA, the “Parties”).

  Based on the Parties’ agreement as evidenced by the signatures of counsel below, and the Court

  otherwise finding that the entry of this Order is lawful and proper, it is hereby:

          ORDERED that the Motion is GRANTED in part to the extent specifically provided for

  herein and otherwise DENIED; it is further

          ORDERED that that certain Agreed Protective Order entered on January 22, 2020 in the

  underlying Bankruptcy Case at Docket No. 382 (the “Existing Order”), a copy of which is attached

  hereto as Exhibit “A,” shall apply to this Adversary Proceeding with the same force and effect as

  though the Existing Order was entered in this Adversary Proceeding, and each reference to the

  “Bankruptcy Case” in the Existing Order shall be read as this “Adversary Proceeding,” and each

  of HCMFA and the Debtor shall be deemed a “Party” under the Existing Order; it is further

          ORDERED that, notwithstanding the foregoing, section 1(b) of the Existing Order shall

  not apply such that information produced by a Party that was already lawfully within the other

  Party’s possession prior to it being furnished by the producing Party may still be designated and

  treated as Confidential Information or Highly Confidential Information, subject to the terms of the

  Existing Order; provided, however, that this shall in no way prevent any Party from using any such

  information in this Adversary Proceeding as authorized in the Existing Order and shall instead

  only prevent the Party from disclosing the same to any third parties (other than as authorized in

  the Existing Order), the intent being that nothing in the Existing Order limits any Party’s ability to

  use Confidential Information or Highly Confidential Information but protects the same from public

  release; it is further




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           ORDERED that this this Order shall apply to any successor-in-interest of any Party,

  including the Litigation Trustee of the Highland Capital Management, L.P. Litigation Sub-Trust;

  it is further

           ORDERED that this Court shall retain exclusive jurisdiction to interpret and enforce this

  Order.

                                    # # # END OF ORDER # # #




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  AGREED:

   MUNSCH HARDT KOPF & HARR, P.C.                 PACHULSKI STANG ZIEHL & JONES
                                                  LLP
   /s/ Davor Rukavina                             By: /s/ John A. Morris (w/ permission)
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   Texas Bar No. 24030781                         Ira D. Kharasch
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   COUNSEL FOR DEFENDANT                          COUNSEL FOR PLAINTIFF

   SIDLEY AUSTIN LLP

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   permission)
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   -and-

   Matthew A. Clemente (admitted pro hac vice)
   Dennis M. Twomey (admitted pro hac vice)
   Alyssa Russell (admitted pro hac vice)
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   Chicago, Illinois 60603
   Telephone: (312) 853-7000
   Facsimile: (312) 853-7036

   COUNSEL FOR MARC S. KIRSCHNER,
   AS LITIGATION TRUSTEE OF THE
   HIGHLAND CAPITAL MANAGEMENT,
   L.P. LITIGATION SUB-TRUST




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The following constitutes the ruling of the court and has the force and effect therein described.



 Signed January 21, 2020
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS

         In re:                                                        )    Chapter 11
                                                                       )
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          )    Case No. 19-34054 (SGJ)
                                                                       )
                                          Debtor.                      )


                                         AGREED PROTECTIVE ORDER

                  This Agreed Protective Order (the “Order”) governs any document, information, or other

     thing that has been or will be produced or received by a Party (as defined below) in the action In

     re Highland Capital Management, L.P., Case No. 19-34054 (SGJ) (the “Bankruptcy Case”),

     pending in the United States Bankruptcy Court for the Northern District of Texas (the “Court”)

     (collectively, the “Discovery Materials”).             Discovery Materials include, without limitation,

     testimony adduced at depositions; responses to interrogatories; responses to requests for admission

     (and documents produced in connection with such responses); and documents and things produced


     1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
     address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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                                                                                                   EXHIBIT "A"
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  voluntarily or in response to any type of request. “Party” or “Parties” means any person or entity

  that (1) produces, (2) designates, (3) receives, formally or informally, or (4) reviews any Discovery

  Materials designated as Confidential or Highly Confidential Information, as defined in this Order.

                                   TERMS OF AGREED ORDER

                     1.   Confidential Information. As used in this Order, “Confidential Information”

  means all documents, data, reports, interpretations, forecasts, financial and business projections,

  records, agreements, contracts, business plans, marketing materials and vendor agreements or

  programs (whether in oral or written form, electronically stored, or otherwise) containing or

  otherwise reflecting information provided by or on behalf of any Party or any of the Parties’

  respective Representatives (as defined below) before, on, or after the date hereof, and all

  reproductions of such information (whether in written form, electronically stored, or otherwise or

  substantially derived from the information described above), that the producing Party reasonably

  believes in good faith is confidential or sensitive proprietary, personal, commercial, financial, or

  business information or that is otherwise subject to protection under a pre-existing agreement or

  applicable law or regulation. Accordingly, for example, “Confidential Information” does not

  include information that (a) is or becomes generally available to the public other than as a result

  of disclosure by a Party or any of the Parties’ Representatives in breach of this Order; (b) was

  lawfully within a Party’s possession prior to it being furnished to such Party in the Bankruptcy

  Case; (c) becomes available to a Party from a source other than the producing Party or any of its

  Representatives, provided that such source is not, to such receiving Party’s knowledge, bound by

  a confidentiality agreement with, or other contractual, legal or fiduciary obligation of

  confidentiality to, the producing Party with respect to such information; or (d) is independently

  developed by a receiving Party without reference to or reliance upon any information furnished to

  such receiving Party by or on behalf of the producing Party.

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                     2.   Use and Disclosure of Confidential Information. Subject to the terms of this

  Order, each Party shall (i) keep the Confidential Information confidential in accordance with the

  terms of this Order; (ii) not disclose any Confidential Information except in accordance with the

  terms of this Order; (iii) not use any Confidential Information in any way other than in connection

  with the Bankruptcy Case; and (iv) hold and treat all Confidential Information in confidence and

  with the same degree of care that such Party exercises with regard to its own Confidential

  Information; provided, however, that each Party may disclose any Confidential Information (A) to

  any other Party subject to this Order; (B) counsel and other professionals retained by the Official

  Committee of Unsecured Creditors of Highland Capital Management, L.P. (the “Committee,”);

  (C) to any Representative of any Party other than the Committee, which is addressed in paragraph

  2(iv)(B); (D) to the extent permitted pursuant to paragraph 9 below; (E) to the United States

  Bankruptcy Court for the Northern District of Texas and its personnel; (F) the United States

  Trustee for the Northern District of Texas (the “U.S. Trustee”); (G) any person who is indicated

  on the face of a document or its related documents to have been an author, addressee or copy

  recipient of such document, an actual or intended recipient of such document, or in the case of

  meeting minutes, an attendee of the meeting; (H) for purposes of witness preparation, any deponent

  or witness who was noticed for a deposition, or is on a witness list for hearing or trial, in preparation

  for his or her noticed deposition, hearing, or trial testimony where such material is determined by

  counsel in good faith to be necessary to the anticipated subject matter of testimony; (I) in the case

  of a deposition, to any court reporter, stenographer, or videographer in attendance; and (J) in

  response to a subpoena issued from another court or as otherwise required by law. For purposes

  of this Order, “Representatives” means a Party’s parent(s), subsidiaries, affiliates, officers,




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  directors, employees, contractors, attorneys (whether in-house or outside counsel), financial

  advisors and other professionals engaged by the Party, or its agents and representatives.

                     3.   Highly Confidential Information.       A producing Party may designate

  information that it reasonably believes in good faith is so personally, economically, or

  competitively sensitive that (a) disclosure would materially affect or threaten injury to its personal,

  commercial, or financial interests, and (b) the protections provided to Confidential Information in

  this Order are insufficient, as being restricted Highly Confidential Information (the “Highly

  Confidential Information”).

                     4.   Use and Disclosure of Highly Confidential Information.              Discovery

  Materials designated as “Highly Confidential” may only be viewed by the people and entities

  identified in paragraphs 2(iv) (B), (D), (E), (F), (G), (H) (I) or (J). Discovery Materials designated

  as “Highly Confidential” may not otherwise be disclosed without the producing Party’s prior

  written consent or further order of the Court. Highly Confidential Information may be disclosed

  to the United States Bankruptcy Court for the Northern District of Texas and its personnel as long

  as the information is filed under seal under the procedures set forth in L.B.R. 9077-1.

                     5.   Designating Confidential and Highly Confidential Information. Where

  practicable, the producing Party may designate Discovery Materials as Confidential or Highly

  Confidential by applying the legend “Confidential” or “Highly Confidential” to the Discovery

  Materials. In the case of data stored in electronic form (“ESI”), the legend shall be printed on the

  cover or container of the disk, tape or other medium in which the electronic data is produced and/or

  on the ESI itself. If such measures are not practicable, the producing Party shall designate the

  Discovery Materials as Confidential or Highly Confidential through other feasible means.




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                     6.   Disputes Over Designation of Confidential Information. In the event that

  any Party objects to any designation of Discovery Materials as Confidential Information (the

  “Objecting Party”), the Objecting Party shall notify the producing or designating Party in writing,

  stating the grounds of the objection. The producing or designating Party shall have ten (10)

  business days following the receipt of an objection from the Objecting Party of any Confidential

  Information designation to attempt to resolve the objection, at the end of which the Objecting Party

  may seek a ruling from the Court by written notice and a motion and pursuant to the Court’s

  individual rules and procedures that such information should not be treated as Confidential

  Information. For the avoidance of doubt, the burden of establishing the Confidential nature of any

  Discovery Materials shall be borne by the producing or designating Party.

                     7.   Disputes Over Designation of Highly Confidential Information. In the

  event that any Party objects to any designation of Discovery Materials as Highly Confidential

  Information, the Objecting Party shall notify the other producing or designating Party in writing,

  stating the grounds of the objection. The producing or designating Party shall have five (5)

  business days following receipt of an objection from the Objecting Party of any Highly

  Confidential Information designation to attempt to resolve the objection, at the end of which, if

  the dispute is not resolved, the producing or designating Party must seek a ruling from the Court

  by written notice and a motion and pursuant to the Court’s individual rules and procedures that

  such information should be treated as Highly Confidential Information. In the absence of such a

  filing within five (5) business days from the receipt of the objection, the information will be

  deemed Confidential Information (and not Highly Confidential Information) under this Order. For

  the avoidance of doubt, the burden of establishing the Highly Confidential nature of any Discovery

  Materials shall be borne by the producing or designating Party.



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                     8.   Depositions. During any deposition or interview, if counsel for any Party

  reasonably believes that any answer to a question will result in the disclosure of Confidential

  Information or Highly Confidential Information, counsel may require that all persons other than

  those entitled to view the Confidential Information or Highly Confidential Information, as the case

  may be, leave the room during the relevant portion of the deposition or interview. Any Party shall

  have the right to designate on the record, or within ten (10) business days following receipt of the

  final transcript of the deposition, any portion of the deposition transcript as Confidential

  Information or Highly Confidential Information. Transcripts of testimony or portions thereof so

  designated during the deposition may, at the option of any Party, be appropriately marked.

                     9.   Legally Required Disclosure. If any Party is requested or required (by oral

  questions, interrogatories, requests for information or documents in legal proceedings, subpoena,

  civil investigative demand or other similar process, or by applicable law or the rules or regulations

  of any regulatory authority having jurisdiction over such Parties) to disclose in connection with a

  matter that is not the Bankruptcy Case any of the Confidential Information or Highly Confidential

  Information, such Party shall provide the Party that produced or designated such information with

  prompt written notice of any such request or requirement so that the producing or designating Party

  may seek a protective order or other remedy, and/or waive compliance with the provisions of this

  Order. In the absence of a protective order or other remedy at the time of the deadline for the

  production of the Confidential Information or Highly Confidential Information (including any

  extensions of such deadline), the Party may, without liability hereunder, disclose that portion of

  the Confidential Information or Highly Confidential Information which is legally required to be

  disclosed.




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                     10.   Nothing herein shall prevent the U.S. Trustee from disclosing Discovery

  Material for civil or criminal law enforcement purposes in compliance with a subpoena or court

  order, or pursuant to any request under the Freedom of Information Act or other applicable law

  requiring disclosure, subject to the U.S. Trustee providing prompt notice to the Producing Party as

  described in Paragraph 9 above.

                     11.   No Waiver.     The failure to designate any Discovery Materials as

  Confidential Information or Highly Confidential Information shall not constitute a waiver of such

  claim. If at any time any of the Parties believes that certain testimony or some portion of Discovery

  Materials that was previously produced should have been designated as Confidential Information

  or Highly Confidential Information, that Party shall promptly notify all of the other Parties who

  have received such testimony or Discovery Materials in writing, and such designated testimony or

  portion of Discovery Materials will thereafter be treated as Confidential Information or Highly

  Confidential Information under the terms of this Order. If such information has been disclosed by

  a Party between the time of production or receipt of the transcript containing the testimony and the

  time at which a Party gives notice that the Discovery Materials are to be designated as Confidential

  Information or Highly Confidential Information, such disclosure shall not constitute a violation of

  this Order.

                     12.   Claw Back of Inadvertently Produced Protected Materials. If Discovery

  Materials protected from disclosure under Federal Rule of Civil Procedure 26(b)(5) (“Protected

  Materials”) are inadvertently or mistakenly produced, such production shall in no way prejudice

  or otherwise constitute a waiver of, or estoppel as to, any claim of privilege or work-product

  immunity for such information or any other information that may be protected from disclosure by

  the attorney-client privilege, the work-product immunity, or any other legally cognizable privilege



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  or other protection. If the producing Party inadvertently or mistakenly produces Protected

  Materials, upon written request by the producing Party after the discovery of such inadvertent or

  mistaken production, the receiving Party shall use all commercially reasonable efforts to return or

  destroy the Protected Materials and all copies of it, including any work product containing,

  identifying, or referencing such information, and the receiving Party shall not use such information

  for any purpose other than in connection with a motion to compel production of the information.

  The Parties shall not use any inadvertently produced Protected Materials, or information gleaned

  exclusively from any inadvertently produced Protected Materials, in connection with the

  Bankruptcy Case, except to the extent that the inadvertently producing Party withdraws its

  designation of the relevant material as Protected Materials or that the Court determines that the

  relevant material was not properly designated as Protected Materials.

                     13.   No Bar Against Seeking Further Protection. Nothing in this Order shall be

  construed as preventing any Party from seeking further protection for or disclosure of any

  Discovery Material.

                     14.   No Admission Regarding Admissibility or Relevancy. Nothing in this

  Order shall be construed to affect in any way the admissibility or relevance of any Discovery

  Material or other evidence.

                     15.   No Bar to Use of Party’s Own Discovery Material. This Order shall have

  no effect on, and shall not apply to, a producing Party’s use or disclosure of its own Discovery

  Material for any purposes whatsoever.

                     16.   Conclusion of Litigation and Return of Confidential Information. Within

  sixty (60) calendar days after final judgment in this action, including the exhaustion of all appeals,

  or within sixty (60) calendar days after dismissal pursuant to a settlement agreement, each Party



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  or other person subject to the terms of this Protective Order is under an obligation to destroy or

  return to the producing Party all materials and documents containing Confidential Information or

  Highly Confidential Information, and to certify to the producing Party that this destruction or

  return has been done. However, outside counsel for any Party is entitled to retain all court papers,

  trial transcripts, exhibits, and attorney work product provided that any such materials are

  maintained and protected in accordance with the terms of this Agreed Protective Order.

                     17.   No Third-Party Beneficiaries. No Third-Party Beneficiaries. There are no

  third-party beneficiaries to this Order. For the avoidance of doubt, this provision precludes non-

  Debtor affiliates, and their Representatives, including any entity affiliated with, owned by, or

  controlled in any way, directly or indirectly, by James Dondero and his affiliates (the “Dondero

  Parties”) from seeking to enforce or rely on this Order in any way, unless any of the Dondero

  Parties is asked (formally or informally) to produce or receive Discovery Materials thereby

  becoming a "Party" as defined herein. The Dondero Parties are subject to the exclusive jurisdiction

  of this Court. Nothing in this order shall be deemed to limit third parties (other than the Dondero

  Parties) who receive a subpoena issued by the Court from seeking to quash or modify that subpoena

  in the court for the district where compliance is required pursuant to FRCP 45(d).

                     18.   Exclusive Jurisdiction. This Court retains exclusive jurisdiction for matters

  arising from or related to this Order, including but not limited to after confirmation of any plan of

  reorganization or conversion of this Bankruptcy Case. The Court further reserves the right to

  amend this Order upon a motion of any party in interest after notice and a hearing.

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  Dated: January 21, 2020


  Respectfully submitted,

  PACHULSKI STANG ZIEHL &JONES LLP                SIDLEY AUSTIN LLP

  /s/ Jeffrey N. Pomerantz                        /s/ Juliana L. Hoffman
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  (admitted pro hac vice)                         preid@sidley.com
   Ira D. Kharasch (CA Bar No. 109084)            Paige Holden Montgomery (24037131)
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   Maxim B. Litvak (SBN: 24002482)                Juliana L. Hoffman (24106103)
   Gregory V. Demo (NY Bar 5371992)               jhoffman@sidley.com
   (admitted pro hac vice)                        2021 McKinney Avenue, Suite 2000
   10100 Santa Monica Blvd., 13th Floor           Dallas, Texas 74201
   Los Angeles, CA 90067                          Telephone: (214) 981-3300
   Telephone: (310) 277-6910                      Facsimile: (214) 981-3400
   Facsimile: (310) 201-0760                      -and-
   E-mail:     jpomerantz@pszjlaw.com
               ikharasch@pcszjlaw.com             Bojan Guzina (admitted pro hac vice)
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               gdemo@pszjlaw.com                  Matthew A. Clemente (admitted pro hac vice)
                                                  mclemente@sidley.com
   -and-                                          Dennis M. Twomey (admitted pro hac vice)
                                                  dtwomey@sidley.com
   HAYWARD & ASSOCIATES PLLC                      Alyssa Russell (admitted pro hac vice)
                                                  alyssa.russell@sidley.com
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   Texas Bar No. 24053075
   ZAnnable@HaywardFirm.com                       Counsel For the Official Committee of
   10501 N. Central Expy, Ste. 106                Unsecured Creditors
   Dallas, Texas 75231
   Tel: (972) 755-7100
   Fax: (972) 755-7110

  Counsel and Proposed Counsel for the
  Debtor and Debtor-in-Possession



                                     ### End of Order ###



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                                                              United States Bankruptcy Court
                                                                Northern District of Texas
Highland Capital Management, L.P.,
      Plaintiff                                                                                                        Adv. Proc. No. 21-03004-sgj
Highland Capital Management Fund Advisor,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: mmathews                                                              Page 1 of 2
Date Rcvd: Aug 23, 2021                                               Form ID: pdf001                                                            Total Noticed: 5
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 25, 2021:
Recip ID                 Recipient Name and Address
ust                    + Cheryl Wilcoxson, US Trustee, 1100 Commerce St., Ste. 976, Dallas, TX 75242-0996
dft                    + Highland Capital Management Fund Advisors, L.P., K&LGates LLP, c/o Stephen G. Topetzes, 1600 K Street, NW, Washington, DC
                         20006-2806

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion06.ty.ecf@usdoj.gov
                                                                                        Aug 23 2021 20:43:00      US Trustee, Office of the U.S. Trustee, 110 N.
                                                                                                                  College Ave., Suite 300, Tyler, TX 75702-7231
ust                    + Email/Text: ustpregion07.hu.ecf@usdoj.gov
                                                                                        Aug 23 2021 20:43:00      US Trustee, Office of the US Trustee, 515 Rusk
                                                                                                                  Ave, Ste 3516, Houston, TX 77002-2604
ust                    + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        Aug 23 2021 20:43:00      United States Trustee, 1100 Commerce Street,
                                                                                                                  Room 976, Dallas, TX 75242-0996

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust                            Sandra Nixon, U.S. Trustee
ust                            mario zavala
ust              *+            US Trustee, Office of the U.S. Trustee, 110 N. College Ave., Suite 300, Tyler, TX 75702-7231

TOTAL: 2 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 25, 2021                                            Signature:           /s/Joseph Speetjens
          Case 21-03004-sgj Doc 63 Filed 08/25/21                             Entered 08/25/21 23:15:42                    Page 16 of 16
District/off: 0539-3                                              User: mmathews                                                         Page 2 of 2
Date Rcvd: Aug 23, 2021                                           Form ID: pdf001                                                       Total Noticed: 5



                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 23, 2021 at the address(es) listed
below:
Name                             Email Address
Davor Rukavina
                                 on behalf of Defendant Highland Capital Management Fund Advisors L.P. drukavina@munsch.com

Julian Preston Vasek
                                 on behalf of Defendant Highland Capital Management Fund Advisors L.P. jvasek@munsch.com

Juliana Hoffman
                                 on behalf of Creditor Committee Official Committee of Unsecured Creditors jhoffman@sidley.com
                                 txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Melissa S. Hayward
                                 on behalf of Plaintiff Highland Capital Management L.P. MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Paige Holden Montgomery
                                 on behalf of Creditor Committee Official Committee of Unsecured Creditors pmontgomery@sidley.com
                                 txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;crognes@sidley.com;ebromagen@sidley.com;efilingnoti
                                 ce@sidley.com

Zachery Z. Annable
                                 on behalf of Plaintiff Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 6
